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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JAVIER GONZALEZ-LOZA,                             )
                                                   )
                                Plaintiff,         )
                                                   )    No. 19 C 3046
                        v.                         )
                                                   )    Judge Kennelly
 COUNTY OF KANKAKEE, et al.                        )
                                                   )
                                Defendants.        )

                     INDIVIDUAL FEDERAL DEFENDANTS’
                MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

                                             Introduction

       Plaintiff Javier Gonzalez-Loza’s fourth amended complaint has added claims for

“excessive force” against Lorne K. Stenson and Marlon Burton in their individual capacities, a

current and former United States Deputy Marshal respectively, regarding plaintiff’s stairwell fall

during his transport out of the Dirksen Courthouse on July 17, 2018. These claims should be

dismissed for three reasons. First, the claims are barred by the two-year statute of limitations.

Second, the allegations against these two individual federal defendants fail to state a Bivens due

process claim. The allegations do not present an accepted Bivens remedy nor do they warrant an

extension of Bivens’s scope, and the factual allegations fail to identify any act or omission by either

of the individual federal defendants, much less do they allege that either committed a constitutional

violation sufficient for personal liability. Third, qualified immunity applies to bar this suit. The

court should dismiss these claims with prejudice. And one more thing: these newly added Bivens

claims may be futile anyway, because they will not survive the Federal Tort Claims Act’s judgment

bar, assuming that the related FTCA case proceeds to judgment.
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                                        Procedural History

       On or about May 17, 2019, pro se plaintiff Javier Gonzalez-Loza commenced this civil

action against two unknown Kankakee County Sheriffs and three unknown deputy U.S. Marshals

under the Federal Tort Claims Act, alleging that plaintiff tripped and fell on stairs on July 17, 2018,

as he was leaving the Dirksen Federal Courthouse after a court appearance and that this occurred

because the defendants “were negligent by exposing plaintiff to an unnecessary hazardous

condition, namely, where plaintiff had to walk down concrete steps in handcuffs, shackles, and a

blackbox.” Dkt. 4 at 2. The court, on its own motion, among other things, later substituted the

United States for the three defendants named as Unknown U.S. Marshals A, B, and C. Dkt. 8.

       The United States then moved to dismiss the claim against it, because plaintiff had not filed

an administrative claim as required under the FTCA prior to filing the case. Dkt. 17; 28 U.S.C.

§ 2675(a). The court never ruled on the motion, but plaintiff later—through appointed counsel—

filed a first amended complaint, which did not name the United States nor any individual federal

defendants. Dkt. 36. The plaintiff subsequently filed a second and a third amended complaint,

neither of which stated claims against the United States or any federal defendants. Dkt. 41, 57.

       Plaintiff filed his fourth amended complaint on May 17, 2021. Dkt. 73. The new pleading

again asserted claims under the FTCA against the United States, but the court has since dismissed

those claims. Dkt. 73, 77. Now that plaintiff has exhausted his administrative remedies, he has

filed a separate FTCA action against the United States, which been consolidated with this case but

has not been served on the United States. Gonzalez-Loza v. United States, No. 21 C 3607.

                                        Factual Allegations

       The fourth amended complaint also asserts claims against U.S. Deputy Marshal Lorne

Stenson and former U.S. Deputy Marshal Marlon Burton, as well as John Does 1-10. It uses the



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term “Individual USMS Defendants” and defines it as “Defendants United States Marshals Service

Deputies Lorne K. Stenson, Marlon Burton, and John Does 1-10.” 4th Am. Compl. ¶3. Gonzalez-

Loza seeks “relief under Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics,

403 U.S. 388 (1971), against Individual USMS Defendants who are federal employees. The Cruel

and Unusual Punishment clause of the Eighth Amendment protects prisoners from the use of

excessive physical force, including the use of excessive restraint.” 4th Am. Compl. ¶6.

       Gonzalez-Loza alleges as follows: He was housed at Jerome Combs Detention Center

(“JCDC”), operated by the Kankakee County Sheriff’s Office. 4th Am. Compl. ¶¶14-15. He was

transported from the JCDC to the Dirksen Courthouse on July 17, 2018, along with other detainees

or prisoners. See id. ¶¶17, 21. The transport was for the purpose of his federal arraignment. United

States v. Gonzalez-Loza, No. 18 CR 358, Dkt. 21. He was transported not only by Kankakee

County Sheriffs but also by “Individual USMS Defendants.” 4th Am. Compl. ¶17. Upon arrival,

plaintiff and the others transported entered Dirken Federal Courthouse in a different manner than

usual because the usual elevator was out of service. Id. ¶¶20-21. Instead, they went “up concrete

stairs that led to a freight elevator used to bring the prisoners to the holding cell to wait for court

hearings.” Id. ¶20.

       After his arraignment, he and the others again were escorted via the same alternative path,

using the freight elevator and concrete stairs, since the usual elevator was still out of service. Id.

He, was “fully shackled, handcuffed, and black-boxed while being escorted out of the courthouse.”

Id. ¶20-22. The “concrete stairs had a metal edging in defective condition, and lacked walls or

other safeguards to buffer against falls by the prisoners, whose shackled feet and handcuffed,

black-boxed hands made them vulnerable to any loss of balance as they attempted to negotiate the

staircases.” Id. ¶23. The “dangerous condition of the path through the underground garage of the



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Dirksen Courthouse and up the staircase to the freight elevator was plainly visible to Defendants

Senesac, Bertucci, and Individual USMS Defendants, who were deliberately indifferent to the

danger, and did nothing to abate the danger in order to protect the vulnerable prisoners from the

obvious and notorious dangers on their way to and from their hearings in the courthouse.” Id. ¶24.

       Then, while walking down the stairs, his ankle shackles got caught on a piece of metal trim

protruding from the stair, and he tripped and fell headlong down the concrete stairs, unable to catch

himself from falling because he was handcuffed and shackled. Id. ¶25. He “screamed in pain”

and “heard a cracking sound in his back and felt back and neck pain.” Id. ¶26. Gonzalez-Loza

asked the Sheriffs and Individual USMS Defendants not to pick him up, but he is Spanish-

speaking. Id. ¶27. He claims that “[o]ne or more Individual USMS Defendants asked Gonzalez-

Loza whether he was okay. Gonzalez-Loza said, ‘No.’ One or more Individual USMS Defendants

picked him up anyway, by his arms.” Id. He “sustained flesh wounds from the ankle shackles as

they peeled skin off his ankle during the fall” and “was bruised from his wrist to his elbow for

more than two weeks from the fall.” Id. ¶28. Gonzalez-Loza also claims that “[o]ne or more

Individual U.S. Marshals mocked” him. Id. ¶29. He concedes that he was provided with

immediate medical care at the Dirksen Courthouse, specifically that he “was seen by a nurse, who

observed him, gave some first aid, and gave Motrin.” Id. 30.

       Under his cause of action titled “Bivens 8th Amendment Cruel and Unusual Punishment

Against Individual U.S. Marshals Deputies Lorne K. Stenson, Marlon Burton, and John Does 1-

10,” plaintiff alleges that the “Individual USMS Defendants caused excessive force to be used

against Gonzalez- Loza by setting in motion the chain of events that lead [sic] to his injury on July

17, 2018, including one or more of the following acts:




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       a. During the transit of July 17, 2018, forced Gonzalez-Loza to wear excessive restraints,

including “black-boxed” handcuffs in violation of USMS Policy Directive 9.18, leaving him

virtually unable to move his arms, any movement causing him physical pain and physical injury,

and leaving him unable to hold the railing or otherwise maintain his balance to prevent from falling

headlong down the stairs;

       b. Forced Gonzalez-Loza to ride in the transit van with excessive restraints, including

“black-boxed” handcuffs, without a seat belt;

       c. Forced Gonzalez-Loza to walk down cement stairs in the Dirksen building, during which

the chain on ankle shackles got caught on a piece of metal trim that was protruding from the stair,

making Gonzalez-Loza trip and fall headlong down the stairs;

       d. Failed to assist or support Gonzalez-Loza while he was walking down the stairs with

excessive restraints;

       e. Failed to prevent him from falling headlong down the concrete stairs when he was

wearing excessive restraints;

       f. Knew Gonzalez-Loza was injured, but forcibly moved him by his arms in a malicious

and sadistic manner, causing further harm and injury;

       g. Mocked Gonzalez-Loza cruelly, knowing he was suffering; and

       h. Refused to alleviate Gonzalez-Loza’s suffering caused by the prolonged restraint in

handcuffs and excessive restraints.” Id. ¶121.

       Gonzalez-Loza alleges that he suffered various injuries because of the “Individual USMS

Defendants”’ conduct and seeks to hold Stenson and Burton personally liable for damages. Id.

¶¶122-25.




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                                              Argument

        Gonzalez-Loza’s belated attempt to seek money damages from two federal officers for his

fall on the Dirksen Courthouse stairs should be dismissed. First, these claims are time-barred

because they were brought ten months too late to comply with the two-year statute of limitations

applicable to Bivens claims in Illinois. Even were they not time-barred, he has failed to state a

Bivens claim against those individuals. The allegations here are not within the accepted scope of

the Bivens remedy, and no extension of Bivens is warranted here, especially where plaintiff has an

alternative remedy in tort. Further, even if this were a context in which a Bivens remedy had been

found, plaintiff failed plausibly to allege that Stenson or Burton committed a due process violation.

In any event, even if what he alleges could be viewed as a constitutional violation, which it cannot,

qualified immunity would bar these claims.

I.      Legal Standard

        A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint, which

must allege “sufficient factual matter, accepted as true, to state a claim to relief that is plausible on

its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. This standard “demands

more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. While “detailed

factual allegations” are not required, “labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007).

Well-pled facts are taken as true and viewed in the light most favorable to the plaintiff. Hatmaker




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v. Mem’l Med. Ctr., 619 F.3d 741, 743 (7th Cir. 2010). But the court is “not bound to accept as

true a legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at 555.

        Courts should dismiss a case as untimely when the complaint reveals that it was not brought

within the statutory period. United States v. Lewis, 411 F.3d 838, 842 (7th Cir. 2005). The defense

that a claim violates the statute of limitations may be adjudicated on a motion to dismiss if the

allegations of the complaint itself set forth everything necessary to satisfy the affirmative defense.

Brooks v. Ross, 578 F.3d 574, 579 (7th Cir. 2009).

II.     The Claims Against U.S. Deputy Marshals Stenson and Burton Are Time-Barred.

        The claims against defendants Stenson and Burton are time-barred because they were filed

about ten months after the expiration of the statute of limitation. “Bivens actions, like actions

under § 1983, are considered as personal injury claims and are governed by the personal injury

statute of limitations and tolling laws in the state where the alleged injury occurred. In Illinois,

this kind of personal injury case is governed by a two-year statute of limitations.” Delgado-Brunet

v. Clark, 93 F.3d 339, 342 (7th Cir. 1996) (internal case citations omitted); 735 Ill. Comp. Stat.

Ann. 5/13-202. That raises the question of when the claim accrued. Claim accrual occurs “when

the plaintiff has ‘a complete and present cause of action,’” that is, when “the plaintiff can file suit

and obtain relief.” Wallace v. Kato, 549 U.S. 384, 388 (2007) (internal case citations omitted).

        Here, the claim accrued on July 17, 2018, when Gonzalez-Loza alleges that he knew he

was injured from his fall. 4th Am. Compl. ¶¶17-38. The pleading naming Stenson and Burton

was filed on May 17, 2021, close to three years later. Dkt. 73. The claims against these individuals

do not “relate back” to the filing of the original complaint for timeliness purposes. Herrera v.

Cleveland, __ F. 4th __, No. 20-2076, 2021 WL 3447681, at *4 (7th Cir. Aug. 6, 2021) (holding

amended complaint naming individual defendants, where original complaint named John Does,



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does not relate back for timeliness purposes as a “mistake” about parties’ identity under Rule

15(c)(1)(C)(ii)); Delgado-Brunet, 93 F.3d at 344 (dismissing Bivens claims against newly added

federal prison officers because they were named outside of the two-year statute of limitation).

Therefore, plaintiff’s claims against Stenson and Burton are long since time-barred and should be

dismissed with prejudice. Herrera, 2021 WL 3447681, at *4-5 (reversing district court’s denial of

motion to dismiss claims against newly added defendants as time-barred); Molina-Garcia v.

Fardon, 754 F. App’x 475 (7th Cir. 2019) (affirming dismissal of Bivens claims against former

U.S. Attorney and an Assistant U.S. Attorney as untimely, since they were not filed within two

years of accrual); Porter v. U.S. Gen. Servs. Admin., 151 F.3d 1033 (7th Cir. 1998), amended, No.

97-4230, 1998 WL 614752 (7th Cir. Aug. 17, 1998) (affirming dismissal of Bivens claims that

were filed more than two years after they accrued); Delgado-Brunet, 93 F.3d at 344.

III.     Plaintiff Failed to State Bivens Claims Against U.S. Deputy Marshals Stenson and
         Burton.

         The allegations here, all lumped together against “Individual USMS Defendants,” which

is defined to include Stenson, Burton and ten John Does, do not pass muster for pleading a

constitutional violation under Bivens and should be dismissed. First, there is no Bivens remedy

for the nature of the allegations here. Second, plaintiff failed to plead a Fifth Amendment due

process violation by either of the two individual federal defendants, even if a Bivens remedy had

been recognized in this context.

         A.     No Bivens Remedy Is Available.

         As an initial matter, there is no Bivens cause of action for what plaintiff alleges. The

Supreme Court in Bivens recognized an implied cause of action to remedy a constitutional

violation—specifically an unreasonable search and seizure in violation of the Fourth Amendment.

Subsequently, the Court recognized two other contexts in which it found an implied cause of action


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to remedy a constitutional violation. Ziglar v. Abbasi, 137 S. Ct. 1843, 1854-55 (2017). Those

were causes of action for a Fifth Amendment due process violation for gender discrimination, in

Davis v. Passman, 442 U.S. 228 (1979), and an Eighth Amendment violation where a prisoner

alleged failure to provide adequate medical treatment, in Carlson v. Green, 446 U.S. 14 (1980).

Abbasi, 137 S. Ct. at 1854-55. Since that time, there has been a “notable change in the Court's

approach to recognizing implied causes of action,” such that “the Court has made clear that

expanding the Bivens remedy is now a “disfavored” judicial activity.” Id. at 1857. Indeed, the

Court has “consistently refused to extend Bivens to any new context or new category of

defendants.” Correctional Services Corp. v. Malesko, 534 U.S. 61, 68 (2001).

       The allegations against the individual federal defendants here do not fit any of those three

accepted Bivens contexts. Gonzalez-Loza seeks to bring Eighth Amendment claims against the

individual federal defendants, but because he was a pretrial detainee not a convicted prisoner at

the time of his fall, the relevant provision is the Fifth Amendment right to due process. Bell v.

Wolfish, 441 U.S. 520, 561 (1979) (analyzing pretrial detainees’ complaints regarding confinement

issues under the Due process Clause of the Fifth Amendment); United States v. Gonzalez-Loza,

No. 18 Cr 358, Dkt. 21. A claim that U.S. Deputy Marshals violated a pretrial detainee’s rights

under the Fifth Amendment due process clause by how they failed to use due care when they

escorted him down the stairs would require an extension of the Bivens remedy. Indeed, the

Supreme Court has held that even allegations of abuse of pretrial detainees would be a new Bivens

claim, Abbasi, 137 S. Ct. at 1864-65 (2017) (claim that warden violated Fifth Amendment’s

substantive due process component by allowing prison guards to abuse aliens detained following

September 11, 2001 terrorist attacks would present a new Bivens context), as would a detainee’s

claims complaining of the policies controlling his conditions of confinement, id. at 1858-60.



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       In addition, the Supreme Court has rejected extending the Bivens remedy to a plaintiff’s

claim against individual defendants who refused to allow him to use the elevator in his halfway

house, forcing him to use stairs that he claims were contraindicated because of medical issues,

resulting in him falling and having a heart attack on the stairs. Corr. Servs. Corp. v. Malesko, 534

U.S. 61, 64, 74 (2001). Although plaintiff in Malesko was not handcuffed at the time, the

allegations similarly—when viewed for their facts and not conclusory language—were those of a

tort, which further counseled against extending the Bivens remedy. Id. at 73-74.

       Therefore, Gonzalez-Loza has no cause of action against U.S. Deputy Marshals Stenson

and Burton, and the claims against them should be dismissed with prejudice.

       B.      Plaintiff Failed to Plead a Due Process Violation.

       Gonzalez-Loza makes a handful of conclusory allegations against “Individual USMS

Defendants,” which is defined to include Stenson and Burton and ten unidentified people. 4th Am.

Compl. ¶¶3, 6, 24, 27, 29. Those allegations fail to specify what either Stenson or Burton

themselves did in connection with the alleged events here. Therefore, plaintiff fails to state a claim

against either of the individual federal defendants. But even if the lumped allegations were

attributed to each of them individually, they fail to amount to a Fifth Amendment due process

violation. These claims should be dismissed.

       First, “individual government officials ‘cannot be held liable’ in a Bivens suit ‘unless they

themselves acted [unconstitutionally].’” Wood v. Moss, 572 U.S. 744, 763–64 (2014) (quoting

Iqbal, 556 U.S. at 683). What plaintiff has done here—lump together a category of officers based

on their employer and paint them with a broad brush—is not appropriate or sufficient when

bringing Bivens claims. Bivens is not designed to hold officers responsible for acts of their

subordinates, much less their colleagues. Abbasi, 137 S. Ct. at 1860 (2017); see also Iqbal, 556



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U.S. at 676 (“Government officials may not be held liable for the unconstitutional conduct of their

subordinates under a theory of respondeat superior”). These individual capacity claims assert

individual liability, which means they seek money from these federal employees personally. These

officers cannot be dragged through a litigation towards that end based purely on this improper type

of vague group pleading. Id.

       Second, what Gonzalez-Loza alleges the “Individual USMS Defendants” to have done

does not amount to a due process violation. The allegations sound in tort, and indeed he has sued

the United States under the Federal Tort Claims Act “by reason of the same subject matter,” such

that the FTCA’s judgment bar, 28 U.S.C. § 2676, will preclude recovery in this case against the

individual defendants regardless of whose favor judgment is entered in the FTCA case against the

United States. Brownback v. King, 141 S. Ct. 740, 746 (2021); Manning v. United States, 546

F.3d 430 (7th Cir. 2008).

       Despite this, Gonzalez-Loza purports to dress up his tort claim and accuse Stenson and

Burton (and John Does 1-10) of “excessive force” under the Eighth Amendment. 4th Am. Compl.

¶121. Although he now is a convicted prisoner, his Eighth Amendment rights are not at issue here.

See United States v. Gonzalez-Loza, No. 18 CR 358, Dkt. 34. At the time of his fall on July 17,

2018, he was a pretrial detainee, id., Dkt. 21, so it is instead his Fifth Amendment due process

right at issue, and plaintiff has not plausibly alleged a violation of his due process rights.

       To succeed on such a claim, a pretrial detainee must show “that the force purposely or

knowingly used against him was objectively unreasonable.” Kingsley v. Hendrickson, 576 U.S.

389, 396–97 (2015). “[O]bjective reasonableness turns on the ‘facts and circumstances of each

particular case.’” Id. (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)). “A court must make

this determination from the perspective of a reasonable officer on the scene, including what the



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officer knew at the time[,]” taking into count all relevant considerations. Id. However, here the

allegations are so deficient that the court need not even reach that test.

       Even if Gonzalez-Loza had made every allegation that he has levied against the “Individual

USMS Defendants” instead specifically against each of the two named individual federal

defendants, those allegations would not amount to a claim of constitutionally excessive force,

because he has not alleged that Stenson or Burton “purposely or knowing used [force] against

him.” Kingsley, 576 U.S. at 396-97. Indeed, a claim of excessive force must allege “‘some force,’

some ‘physically abusive governmental conduct,’ some ‘physical force,’ applied” to the

plaintiff. Townsel v. Jamerson, 240 F. Supp. 3d 894, 903 (N.D. Ill. 2017) (emphasis in original)

(quoting Morales–Placencia v. City of Chicago, No. 08 C 5365, 2011 WL 1542964, at *2 (N.D.

Ill. Apr. 21, 2011) (quoting McNair v. Coffey, 279 F.3d 463, 467 (7th Cir. 2002)) (holding

allegation that officers brandished firearms during a search of the plaintiff’s home was, without

more, insufficient to state a claim).

       Ignoring conclusory language and focusing on the facts, Gonzalez-Loza alleges that some

of a group of twelve U.S. Marshals (including the two named individual federal defendants and

ten John Does), as well as certain Kankakee Sheriffs, did not prevent him from falling in a stairwell

that had not caused anyone any injury on the way into the courthouse through the exact same

pathway that day. Then—after the fall—some of that group promptly picked him up when he said

he was not all right and got him urgent medical attention. This does not even meet the baseline

requirement that there was purposeful and knowing “force” used against plaintiff. Kingsley, 576

U.S. at 396-97. And if it somehow was sufficient “force,” the allegations amount to no more than

negligence, which is “categorically beneath the threshold of constitutional due process.” Kingsley




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v. Hendrickson, 576 U.S. 389 (2015) (internal quotation marks omitted; quoting County of

Sacramento v. Lewis, 523 U.S. 833, 849 (1998)).

       Furthermore, Gonzalez-Loza complains about the shackles and the “black-box” handcuffs

he wore. Those allegations fail to state a claim against Stenson and Burton for two reasons. First,

there is no allegation that Stenson or Burton had any role in putting plaintiff in those restraints, so

those allegations cannot state a claim against them. Townsel, 240 F. Supp. 3d at 903-904 (holding

Bivens excessive force allegations that plaintiff “was handcuffed,” “shackled,” and “chained to a

wall” fail as matter of law because, among other reasons, “they fail to identify which Defendant

handcuffed, shackled, or chained him to the wall” and “does not allege that he communicated any

injury” related to the restraints to defendants) (citing Wood, 134 S. Ct. at 2070).

       Second, even if he had alleged Stenson or Burton personally had anything to do with his

restraints, Gonzalez-Loza does not allege how the handcuffs or shackles amounted to excessive

force, other than that they prevented him from catching himself when he fell. That does not render

their usage excessive. Townsel, 240 F. Supp. 3d at 903 (Bivens claim also failed as a matter of law

because plaintiff “merely alleges that handcuffs and shackles were employed in his detention but

fails to articulate how their use constituted excessive force or was otherwise unreasonable”).

Although “the Seventh Circuit has recognized excessive force claims for the use of handcuffs, it

has done so only when it is objectively clear that the handcuffs would injure or harm the” plaintiff.

Id. (citing Stainback v. Dixon, 569 F.3d 767, 773 (7th Cir. 2009)); see also Tibbs v. City of Chicago,

469 F.3d 661, 666 (7th Cir. 2006) (concluding that the arresting officer did not act unreasonably

when he fastened the plaintiff's handcuffs too tightly, and the plaintiff, whose injuries did not

require medical care, complained only once about his handcuffs “without elaborating on any

injury, numbness, or degree of pain”). No such facts are alleged here.



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       Further, to the extent the restraint-related allegations complain of the practices and policies

of the United States Marshals Service used when securely transporting detainees through Dirksen

Courthouse, “a Bivens action is not ‘a proper vehicle for altering an entity’s policy.’” Abbasi, 137

S. Ct. at 1860 (quoting Malesko, 534 U.S. at 74)) (no Bivens claim where challenging detention

policy); see also Wood, 572 U.S. at 763–64 (declining to “infer from alleged instances of

misconduct on the part of particular agents an unwritten policy of the Secret Service to suppress

disfavored expression, and then to attribute that supposed policy to all field-level operatives”).

       Finally, Gonzalez-Loza’s conclusory allegation that “[o]ne or more Individual U.S.

Marshals mocked” him does not allege force by anyone, much less excessive force, and does not

identify Stenson or Burton in any event. 4th Am. Compl. ¶29. Therefore, it cannot sustain a claim

of excessive force against anyone, much less these officers. Chriswell v. O'Brien, 570 Fed. Appx.

617 (7th Cir. 2014) (holding that an officer's statement that “black equals crack” “was (if made)

disgraceful and reprehensible, but it does not amount to an unreasonable use of force”); Mannix v.

Humer, No. 10 C 5063, 2011 WL 116888, at *3 (N.D. Ill. Jan. 11, 2011) (allegations that officers

“spoke harshly” to plaintiff were not enough to make out a plausible claim of excessive force);

Townsel, 240 F. Supp. 3d at 904 (“Because Plaintiff's allegations regarding being yelled and cursed

at involve no physical force, they cannot state a claim for excessive force and are dismissed.”).

IV.    Qualified Immunity Bars the Claims Against the Individual Federal Defendants.

       Even if plaintiff had stated a claim for excessive force against Stenson or Burton, the

doctrine of qualified immunity should bar the claims against them from proceeding. Qualified

immunity protects federal officers from suit if their conduct did not violate “clearly established

statutory or constitutional rights of which a reasonable person would have known.” Kisela v.

Hughes, 138 S. Ct. 1148, 1152 (2018). In determining whether an officer is entitled to qualified



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immunity, the court asks: (1) whether the officer violated a statutory or constitutional right; and

(2) whether the right was “clearly established” at the time of the challenged conduct. Ashcroft v.

al-Kidd, 563 U.S. 731, 735 (2011). The court has discretion to choose which prong to address

first. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

       An “officer enjoys qualified immunity and is not liable for excessive force unless he has

violated a ‘clearly established’ right, such that ‘it would [have been] clear to a reasonable officer

that his conduct was unlawful in the situation he confronted.’” Kingsley, 576 U.S. at 400 (quoting

Saucier v. Katz, 533 U.S. 194, 202 (2001)). Here, it was not clearly established in 2018 (nor is it

clearly established today) that a U.S. Marshal violates the Fifth Amendment by failing to anticipate

a detainee’s fall and then picking the detainee up to get them medical care (probably because these

things do not violate the Fifth Amendment in the first place). Qualified immunity protects “all but

the plainly incompetent or those who knowingly violate the law,” Malley v. Briggs, 475 U.S. 335,

341 (1986), and it protects Stenson and Burton from suit here.

                                            Conclusion

       For the foregoing reasons, the claims against Lorne Stenson and Marlon Burton should be

dismissed with prejudice.

                                              Respectfully submitted,

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